               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 1 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                               Reported by:

NEIL CRAMOND                                                       April 25, 2011             THU BUI, CCR, RPR

                                                                                                                  Page 1
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                       Deposition of NEIL CRAMOND,
            taken at Pan-American Building, 601 Poydras
            Street, 11th Floor, New Orleans, Louisiana,
            70130, on the 25th of April, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 2 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

NEIL CRAMOND                                                       April 25, 2011              THU BUI, CCR, RPR
                                                                        Page 198                                    Page 200




 21        A. So a number of the findings were
 22     verified by the audit assessment team in
 23     September. A number of the findings were
 24     verified by wellsite leaders at the end of
 25     September. There was a follow-up visit by
                                                                        Page 199                                    Page 201
  1     Mr. Rodriguez in October and there was a                                           1
  2     follow-up visit by Mr. Rodriguez in
  3     March 2010. It was believed that that was
  4     sufficient to progress -- progress
  5     verification of the finding.
  6         Q. As you sit here today, do you
  7     still believe that to be sufficient?
  8             MR. COLLIER:
  9                Object to form.
 10         A. I'm not aware that there were
 11     any items from the assessment that were
 12     outstanding and that were related directly
 13     to the incident on April the 20th.




                                                                                               51 (Pages 198 to 201)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 3 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

NEIL CRAMOND                                                       April 25, 2011              THU BUI, CCR, RPR
                                                                        Page 290                                    Page 292




 18        Q.               At any point in
 19     time, from September of 2009 through April
 20     of 2010, did you ever have the opportunity,
 21     or did a situation ever arise where you had
 22     to directly advise any of these individuals
 23     that you reported to, of any safety
 24     concerns concerning the HORIZON?
 25        A. No.
                                                                        Page 291                                    Page 293
  1                                                                                        1




                                                                                               74 (Pages 290 to 293)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 4 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                  Reported by:

NEIL CRAMOND                                                       April 25, 2011                              THU BUI, CCR, RPR
                                                                        Page 294                                                      Page 296




                                                                        Page 295                                                      Page 297
  1                                                                                        1




                                                                                           14      Q. All right. In this instance, do
                                                                                           15   you feel as though that the September of
                                                                                           16   2009 audit of the DEEPWATER HORIZON was
                                                                                           17   indeed thorough?
                                                                                           18          MR. COLLIER:
                                                                                           19            Object to form.
                                                                                           20      A. I would describe it as thorough,
                                                                                           21   from a number of perspectives in terms of
                                                                                           22   the assessment team did a thorough job in
                                                                                           23   terms of performing the assessment. And
                                                                                           24   the assessment protocol is a thorough
                                                                                           25   protocol as prescribed by the industry.
                                                                                                               75 (Pages 294 to 297)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 5 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

NEIL CRAMOND                                                       April 25, 2011              THU BUI, CCR, RPR
                                                                        Page 302                                    Page 304




  6         Q. All right. And ultimately there
  7     was a meeting, I believe, you testified
  8     earlier to in September, on the 22nd of
  9     September, where you reached the conclusion
 10     at that point that the mitigation fact --
 11     the mitigation plan had been put in place
 12     and the conditions were rectified, correct?
 13         A. Correct.
 14         Q. All right. And at that point,
 15     you felt that the DEEPWATER HORIZON did not
 16     pose a marine safety risk from the
 17     standpoint of BP; is that correct?
 18         A. It did not pose an unacceptable
 19     marine risk, correct.
 20         Q. All right. If it did pose any
 21     marine safety risk at that point on
 22     September 22nd of 2009, you would not have
 23     released the rig to return to service; is
 24     that a correct statement?
 25         A. That is correct.
                                                                        Page 303                                    Page 305
  1                                                                                        1




                                                                                               77 (Pages 302 to 305)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 6 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                         Reported by:

NEIL CRAMOND                                                       April 25, 2011                                 THU BUI, CCR, RPR
                                                                        Page 310                                                              Page 312




                                                                        Page 311                                                              Page 313
  1




                                                                                           12       Q.               There was also some
                                                                                           13   questioning earlier implying, perhaps, that
                                                                                           14   one or two or three physical visits or
                                                                                           15   actual visits to the rig to check on the
                                                                                           16   progress were maybe insufficient for one
                                                                                           17   reason or another, and I think you -- you
                                                                                           18   disputed or disagreed with that assertion;
                                                                                           19   is that correct?
                                                                                           20       A. Again, I believe the
                                                                                           21   verification process was -- was full and
                                                                                           22   complete. There was ongoing dialogue
                                                                                           23   between Mr. Rodriguez and the different
                                                                                           24   accountable parties, both onshore and
                                                                                           25   offshore. Mr. Rodriguez was given
                                                                                                                  79 (Pages 310 to 313)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 7 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

NEIL CRAMOND                                                       April 25, 2011              THU BUI, CCR, RPR
                                                                        Page 314                                    Page 316
  1     authority to initiate a visit whenever he
  2     felt it was required as part of the
  3     process.
  4         Q. And during that period of time,
  5     at any point in time from September of '09
  6     through April of 2010, if you did not feel
  7     like progress was being made or these
  8     issues were being rectified to your
  9     satisfaction and BP's satisfaction, you had
 10     the ultimate authority to suspend
 11     operations on that rig, correct?
 12         A. Correct.
 13         Q. And that was not done?
 14         A. There was no information that
 15     would lead me towards being required to
 16     take that action.




                                                                        Page 315                                    Page 317
  1                                                                                        1




                                                                                               80 (Pages 314 to 317)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 8 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                       Reported by:

NEIL CRAMOND                                                       April 25, 2011                                 THU BUI, CCR, RPR
                                                                        Page 318                                                           Page 320




                                                                        Page 319                                                           Page 321
  1                                                                                        1


  4         Q.             As of February 22nd
  5     of 2010, did you or BP have any concerns
  6     from a marine standpoint that the DEEPWATER
  7     HORIZON was posing a safety risk?
  8             MR. COLLIER:
  9              Object to form.
 10         A. I was not aware of any
 11     conditions that would give rise to concern.
 12         Q. Did you have any concerns at any
 13     of the corrective actions, so to speak,
 14     that needed to be taken from a marine
 15     integrity standpoint were not progressing
 16     within the time frame that you expected?
 17         A. As the e-mail would indicate, if
 18     there would seem to be progressing in a
 19     timely manner.
 20

                                                                                           22    Q.                Were you aware --
                                                                                           23 well, first of all, you approved his visit
                                                                                           24 out to the rig on March 29th and 30th of
                                                                                           25 2010; did you not?

                                                                                                                  81 (Pages 318 to 321)
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               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 9 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                                       Reported by:

NEIL CRAMOND                                                       April 25, 2011                                THU BUI, CCR, RPR
                                                                        Page 322                                                            Page 324
  1         A. Correct.                                                                    1
  2         Q. All right. So you're aware he                                               2
  3     went -- that he went out there, correct?
  4         A. Correct.
  5         Q. All right. When he returned,
  6     was there a meeting that took place between
  7     you and him and/or Mr. Endicott as to what
  8     his findings and conclusions were after the
  9     rig visit?
 10         A. I did not progress a meeting of
 11     that nature.
 12         Q. Okay. Were you -- isn't it true
 13     that after that trip to the rig, you were
 14     not made aware of any pending safety issues
 15     from a marine standpoint that had not been
 16     rectified; is that correct?
 17         A. That's correct.




                                                                                           23    Q.           Is it -- is it fair to
                                                                                           24 say, Mr. Cramond, that -- that within your
                                                                                           25 job responsibilities and duties as the Gulf
                                                                        Page 323                                                            Page 325
  1                                                                                         1   of Mexico marine authority, you were not
                                                                                            2   hesitant or reluctant to impose a safety
                                                                                            3   stand-down if the circumstances warranted
                                                                                            4   it?
                                                                                            5       A. I think that's an accurate
                                                                                            6   statement.
                                                                                            7       Q. All right. And at no point in
                                                                                            8   time, from September of 2009 up until
                                                                                            9   April 20th of 2010, were you provided any
                                                                                           10   information that would have caused you to
                                                                                           11   even consider a safety stand-down on the
                                                                                           12   HORIZON. Is that correct?
                                                                                           13           MR. CHAKERES:
                                                                                           14            Object to form.
                                                                                           15       A. I have no information that would
                                                                                           16   lead me to take that cause of action.
                                                                                           17       Q. All right. And in these other
                                                                                           18   situations, information was provided to you
                                                                                           19   through the normal course of business of BP
                                                                                           20   through audits or incident reportings that
                                                                                           21   brought those situations to your attention,
                                                                                           22   correct?
                                                                                           23       A. Correct.
                                                                                           24       Q. You would fully expect it if
                                                                                           25   there was a safety concern involving marine
                                                                                                                 82 (Pages 322 to 325)
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              Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 10 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

NEIL CRAMOND                                                       April 25, 2011              THU BUI, CCR, RPR
                                                                        Page 326                                    Page 328
  1     integrity or marine safety aboard the
  2     HORIZON, that that information would have
  3     been provided to you as the Gulf of Mexico
  4     marine authority, would you not?
  5             MR. COLLIER:
  6              Object to form.
  7             MR. CHAKERES:
  8              Object to form.
  9        Q. You would, correct?
 10        A. I would.
 11




                                                                        Page 327                                    Page 329
  1                                                                                        1




                                                                                               83 (Pages 326 to 329)
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  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 11 of 52




                                     WITNESS CERTIFICATE



                             I,   NE:[L CRAMOND, have read or have had the

                             foregoing testimony read to me and hereby certify

                             that it is a true and correct transcription                      of

                             my testimony,          with the     exception           of    any

                             attached corrections or changes.




                (Date Signed)                                  (Signature)
                                                                                       =
                    NC.-""'Signed with corrections as attached.

                                  Signed with no corrections noted.              -=-~
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          Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 12 of 52

                                                       1                                                           3
             UNITED STATES DISTRICT COURT                   1   APPEARING FOR TRANSOCEAN:
                                                                    Mr. Richard J. Hymel
             EASTERN DISTRICT OF LOUISIANA                  2       Mr. M. Benjamin Alexander
                                                                    PREIS & ROY
      IN RE: OIL SPILL     ) MDL NO. 2179                   3       Versailles Centre, Suite 400
      BY THEOIL RIG      )                                          102 Versailles Boulevard
                                                            4       Lafayette, Louisiana 70501
      "DEEPWATER HORIZON" IN ) SECTION "J"                  5
      THE GULF OF MEXICO, ON )                                  APPEARING FOR ANADARKO PETROLEUM COMPANY:
      APRIL 20, 2010    ) JUDGE BARBIER                     6       Mr. Peter C. Neger
                   ) MAG. JUDGE SHUSHAN                             Mr. Brandyne S. Warren
                                                            7       BINGHAM MCCUTCHEN
                                                                    399 Park Avenue
                                                            8       New York, New York 10022-4689
                                                            9
                                                                APPEARING FOR HALLIBURTON:
                                                           10       Ms. Aimee L. Williams
                                                                    Ms. Laci M. Dreher
                                                           11       GODWIN RONQUILLO
                                                                    1201 Elm Street, Suite 1700
                                                           12       Dallas, Texas 75270-2041
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                                                                APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
                                                           14       Ms. Kathleen A. Gallagher
                                                                    BECK, REDDEN & SECREST
                                                           15       One Houston Center
                                                                    1221 McKinney Street, Suite 4500
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                 *****************                         17
                                                                APPEARING FOR WEATHERFORD:
                  VOLUME 1 of 1                            18       Mr. Gary Russo
                 *****************                                  JONES, WALKER, WAECHTER, POITEVENT,
                                                           19         CARRERE & DENEGRE, LLP
                                                                    600 Jefferson Street, Suite 1600
                                                           20       Lafayette, Louisiana 70501
               Deposition of KEITH DAIGLE, taken           21       Ms. Sara C. Valentine
       at Pan-American Building, 601 Poydras Street,                JONES, WALKER, WAECHTER, POITEVENT,
      11th Floor, New Orleans, Louisiana, 70130, on        22         CARRERE & DENEGRE, LLP
      July 19, 2011.                                                201 St. Charles Avenue
                                                           23       New Orleans, Louisiana 70170-5100
                                                           24
                                                           25

                                                       2                                                           4
 1             APPEARANCES                                  1   APPEARING FOR DRIL-QUIP, INC.:
 2   APPEARING FOR MDL PLAINTIFFS:
         Mr. Conrad S.P. (Duke) Williams, III                       Ms. Margaret Bryant
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 6   APPEARING FOR THE UNITED STATES:                       4
         Mr. Matthew Z. Leopold
 7       U.S. DEPARTMENT OF JUSTICE                         5   APPEARING FOR M-I SWACO:
         ENVIRONMENTAL & NATURAL                                    Mr. W. Brad Nes
 8       RESOURCES DIVISION                                 6       MORGAN, LEWIS & BOCKIUS, LLP
         ATTORNEY ADVISOR, LAW AND POLICY
 9       SECTION                                                    1111 Pennsylvania Avenue, NW
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10        Room 2616                                         8
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11                                                              APPEARING FOR RONALD W. SEPULVADO:
12   APPEARING FOR THE STATE OF LOUISIANA:                  9       Mr. Ralph S. Whalen, Jr.
         Mr. Lambert J. "Joe" Hassinger, Jr.                        1100 Poydras Street, Suite 2950
13       GALLOWAY, JOHNSON, TOMPKINS, BURR
         AND SMITH                                         10       New Orleans, Louisiana 70163-1133
14       701 Poydras Street, 40th Floor                    11
         New Orleans, Louisiana 70139                           ALSO PRESENT:
15
16   APPEARING FOR THE WITNESS:                            12      Mr. James Deel, Videographer
         Mr. Jim E. Lavine                                 13
17       ZIMMERMANN, LAVINE, ZIMMERMANN &                  14
          SAMPSON, P.C.
18       770 South Post Oak Lane, Suite 620                15
         Houston, Texas 77056                              16
19                                                         17
20   APPEARING FOR BP, INC.:
         Mr. Chadwick Morriss                              18
21       Ms. Kimberly Branscome                            19
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22       1201 Pennsylvania Avenue, Northwest
         Washington, D.C. 20004-2401                       21
23                                                         22
          Mr. Haris Hadzimuratovic                         23
24        KIRKLAND & ELLIS
          300 North LaSalle                                24
25        Chicago, Illinois 60654                          25

                                                                                                   1 (Pages 1 to 4)
                                       PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 13 of 52

                                    209                                                 211




1                                         1




                                    210                                                 212




1                                         1




                                                                   Have you ever been
                                          18   aboard the HORIZON?
                                          19      A. Yes, sir.
                                          20      Q. Okay. How many times?
                                          21      A. I'd say between four and six
                                          22   times in my career.
                                          23      Q. And in the last year before
                                          24   April 20, 2010?
                                          25      A. Two times in -- in 2009.
                                                           53 (Pages 209 to 212)
                PURSUANT TO CONFIDENTIALITY ORDER
                Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 14 of 52

                                                             213                                                       215
:22
:35     1          Q. When you went aboard the                      1       Q. Okay. There's an e-mail from
:24
:37     2      HORIZON, did -- did you get to know any of           2   Mr. Guide going to you and Mr. Cocales. And
:26
:40     3      the workers -- the Transocean workers aboard         3   Mr. Guide writes, "See below, Norman" -- and
:28
:41     4      the HORIZON?                                         4   that -- I believe that's Norman Wong --
:29
:44     5          A. Yes, I met -- I met several of                5   throwing DW HORIZON under the bus."
:31
:46     6      them, yes, sir.                                      6            And that was the e-mail
:31
:48     7          Q. And who were they?                            7   Mr. Guide sent to you?
:32
:48     8          A. Ricky Ezell, Jason Anderson,                  8       A. Yes, sir.
:44
:49     9      Dewey, the captain, Jimmy -- Jimmy Harrell.          9       Q. And your response to him was
:50    10      There's a few others. I just can't think of         10   what?
:53    11      their names.                                        11       A. Do you want me to read it?
:53
:54    12          Q. And --                                       12       Q. Sure.
:54    13          A. It's --                                      13       A. Yes, sir. "Yea, I thought the
:54
:55    14          Q. -- in your work at BP, did you               14   same thing last night when I read this.
:56
:57    15      get to know any of the Transocean employees         15   Everybody wants to take a shot" at "the
:59
:58    16      in the Houston office who worked with the           16   leader at one time or another eh."
:00
:01    17      HORIZON?                                            17       Q. Okay. And you say, "Everybody
:01
:03    18          A. Yes, over the years I -- I met               18   wants to take a shot" at "the leader at one
:04
:05    19      Jon Keeton --                                       19   time or the other -- or another eh," the
:05
:06    20          Q. Okay.                                        20   leader, you're referring to the DEEPWATER
:07
:08    21          A. -- Paul Johnston, yeah.                      21   HORIZON?
:14
:08    22          Q. Okay. Now, the individuals we                22       A. That's correct.
:17
:08    23      just discussed, the individuals on the rig as       23       Q. Okay. And what did you mean
:19
:11    24      well as the individuals on land who were            24   when you said "leader"?
:21
:12    25      involved with the HORIZON, did you ever             25       A. DEEPWATER HORIZON was a -- was
                                                             214                                                       216
3:14
 :23       1   experience any indication that any of those          1   a -- good-performing rig and -- and -- and a
3:18
 :26       2   Transocean employees were indifferent or             2   very safety-oriented rig. So kind of I
3:23
 :29       3   callous toward the safety of individuals             3   always thought it was one of the leaders of
3:25
 :31       4   or -- or the environment?                            4   the pack.
3:25
 :32       5       A. No, sir.
           6
           7


       1




       15          Q. Okay. Now, when you were aboard
       16      the HORIZON, did you have any concerns about
       17      the safety of the HORIZON?
       18          A. No, I did not.




                                                                                         54 (Pages 213 to 216)
                                  PURSUANT TO CONFIDENTIALITY ORDER
                Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 15 of 52

                                                              217                             219
6:11
4:00
        2          Q. Okay. Turn to Tab 17, please.
        3      Tab 17 is a series of e-mails that's Bates
        4      No. BP-HZN-2179MDL02486517. And there's one
        5      e-mail in the middle of the page from you to
        6      George Gray and Mr. Sankar.
        7              Can you take a look at that
        8      e-mail?
        9          A. Yes, sir.
       10          Q. Okay. You've seen that?
       11          A. Yes, sir.
       12          Q. There's a statement down towards
       13      the end of that e-mail. And it states, "If
       14      we would honor everyone's request to go to
       15      the HORIZON, then we would not have many
       16      folks to work most of the other operations."
       17              Is that what you said?
       18          A. Yes, sir, it's what I said.
       19          Q. And what did you mean by that,
       20      when you said "honor everyone's request to go
       21      to the HORIZON"? Who's "everyone"?
       22          A. Other well site leaders.
       23          Q. Okay. My interpretation of
       24      reading this e-mail is that the well site
       25      leaders wanted to be assigned to the HORIZON.
                                                              218                             220
:23
:54        1   Is that a correct interpretation of what you
:25
:57        2   were saying?                                             2
:          3       A. Yes, sir.
:          4
:




       1                                                            1




                                                                            55 (Pages 217 to 220)
                                 PURSUANT TO CONFIDENTIALITY ORDER
          Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 16 of 52

                                                         1                                                            3
              UNITED STATES DISTRICT COURT                    1     Warren Anthony Fitch
                                                                    BINGHAM MCCUTCHEN
              EASTERN DISTRICT OF LOUISIANA                   2     2020 K Street, Northwest
                                                                    Washington, D.C. 20006-1806
                                                              3
     IN RE: OIL SPILL     ) MDL NO. 2179                      4   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
     BY THEOIL RIG      )                                           Mr. Thomas Ganucheau
                                                              5     BECK, REDDEN & SECREST
     "DEEPWATER HORIZON" IN ) SECTION "J"                           One Houston Center
     THE GULF OF MEXICO, ON )                                 6     1221 McKinney Street, Suite 4500
                                                                    Houston, Texas 77010-2010
     APRIL 20, 2010    ) JUDGE BARBIER                        7
                  ) MAG. JUDGE SHUSHAN                        8   APPEARING FOR WEATHERFORD:
                                                                    Mr. Joseph J. Lowenthal, Jr.
                                                              9     JONES, WALKER, WAECHTER, POITEVENT,
                                                                       CARRERE & DENEGRE, LLP
                                                             10     201 St. Charles Avenue
                                                                    New Orleans, Louisiana 70170
                                                             11
                                                             12   APPEARING FOR M-I SWACO:
                                                                    Mr. John C. Funderburk
                                                             13     MORGAN, LEWIS & BOCKIUS, LLP
                                                                    1000 Louisiana Street, Suite 4000
                                                             14     Houston, Texas 77002-5006
                                                             15
                                                                  APPEARING FOR HALLIBURTON:
                                                             16     Mr. Donald E. Godwin
                                                                    Ms. Stefanie K. Major
                                                             17     Mr. James E. Johanns
                                                                    GODWIN RONQUILLO
                   *******************                       18     1331 Lamar, Suite 1665
                      VOLUME 2                                      Houston, Texas 77010-3133
                                                             19
                   ******************                        20   APPEARING FOR DRIL-QUIP, INC.:
                                                                    Mr. C. Dennis Barrow, Jr.
                                                             21     WARE, JACKSON, LEE & CHAMBERS
       Deposition of MIKE DALY, taken at Kirkland &                 America Tower, 42nd Floor
     Ellis International, 30 St. Mary Axe, 22nd Floor,       22     2929 Allen Parkway
                                                                    Houston, Texas 77019-7101
     London EC3A 8AF, England, United Kingdom, on the        23
     22nd of September, 2011.                                     APPEARING FOR THE UNITED STATES:
                                                             24     Mr. A. Nathaniel Chakeres
                                                                    U.S. DEPARTMENT OF JUSTICE
                                                             25     ENVIRONMENTAL & NATURAL

                                                         2                                                            4
 1           APPEARANCES                                      1     RESOURCES DIVISION
 2                                                                  601 D Street, N.W.
     APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:        2     Washington, D.C. 20004
 3     Mr. Scott Summy                                        3     Ms. Malinda Lawrence
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 5                                                                  1425 New York Avenue, N.W.
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 8                                                            8   APPEARING FOR THE STATE OF LOUISIANA:
 9   APPEARING FOR BP, INC.:                                        Mr. Douglas R. Kraus
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10     COVINGTON & BURLING
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15   APPEARING FOR THE WITNESS, MIKE DALY:                          New Orleans, Louisiana 70130-3220
       Mr. David C. Esseks                                   14
16     Ms. LaToya Edwards                                    15   APPEARING FOR MOEX:
       ALLEN & OVERY, LLP
17     1221 Avenue of the Americas
                                                                    Mr. Jack Reynolds
       New York, New York 10020                              16     PILLSBURY WINTHROP SHAW PITTMAN
18                                                                  2 Houston Center
19   APPEARING FOR TRANSOCEAN:                               17     909 Fannin, Suite 2000
       Mr. Daniel Johnson                                           Houston, Texas 77010-1018
20     Ms. Stephany LeGrand                                  18
       SUTHERLAND ASBILL & BRENNAN                           19   ALSO PRESENT:
21     1001 Fannin, Suite 3700                                     Mr. Peter Jennings, videographer
       Houston, Texas 77002-6760                             20
22                                                           21
23   APPEARING FOR ANADARKO PETROLEUM COMPANY:
                                                             22
       Mr. Tony Forte
24     BINGHAM MCCUTCHEN                                     23
       399 Park Avenue                                       24
25     New York, New York 10022-4689                         25

                                                                                                        1 (Pages 1 to 4)
                                       PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 17 of 52

                                                            9                                                           11




8:46
8:44    5       Q. Okay. I gather, then, from your
        6   responses, you're not aware of -- of anyone at
        7   TransOcean acting in a manner that reflected a
        8   willful disregard for the environment. Would that
        9   be accurate?
8:46
8:44   10       A. I'm not aware of such a thing, no.
       11       Q. Okay. And the same would -- would --
       12   would be true with respect to the safety of other
       13   human beings. You've never -- you're not aware of
       14   anyone at TransOcean acting in a way that's in
8:46
8:44   15   disregard for the safety of other humans; is that
       16   accurate?
       17       A. I think that's true, yes. I'm not aware
       18   of it.


                                                                21        Q. Had the DEEPWATER HORIZON drilled any of
                                                                22      your prospect wells prior to the Macondo Well that
                                                                23      you were -- that you can recall?
                                                                24        A. Yes, I believe so.
                                                                25        Q. And based on those experience, there was
                                                           10                                                           12
                                                                    1   nothing that concerned you or gave you any
                                                                    2   hesitation about using the DEEPWATER HORIZON to
                                                                    3   finish the Macondo Well; is that fair?
                                                                    4       A. That's, yeah, fair to say, yes.
 :45
 :47                                                                5       Q. Okay. And no one ever reported any
                                                                    6   concerns to you about the DEEPWATER HORIZON and
                                                                    7   its use on the Macondo Well; is that true?
                                                                    8       A. That's correct.

 :45
 :47   1                                                        1




 :45
 :47




                                                                                               3 (Pages 9 to 12)
                                PURSUANT TO CONFIDENTIALITY ORDER
               Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 18 of 52

                                                13                                                               15
           1



8:50
8:48




8:50
8:48   1                                             1




8:51
8:48




                                                                            Well, and irrespective of whether
                                                     23      it's appropriate or not, I just wanted to make
                                                     24      sure that in receiving these weekly drilling
8:                                                   25      reports --
                                                14                                                               16
                                                         1      A. Uh-huh.
                                                         2      Q. -- that you can't recall, as you sit here
                                                         3   today, any report that contained any criticism of
                                                         4   the DEEPWATER HORIZON or its crew.
8:51
8:49                                                     5      A. No.
                                                         6      Q. Is that right?
                                                         7      A. That's correct, yeah.


8:51
8:49   1                                             1




8:51
8:49




8:52
8:50




                                                                                    4 (Pages 13 to 16)
                           PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 19 of 52

                                            53                                                            55




                                                                                         With respect to the
:37
:35                                               5      "previous kicks" that are referenced here, this
                                                  6      report indicates that the TransOcean crews, quote,
                                                  7      "safely managed the previous kicks"; is that
                                                  8      correct, sir?
                                                  9          A. That's what it says, yeah.
:37
:35    1                                         10          Q. And you have no reason, as you sit here
                                                 11      today, to disagree with that; is that fair?
                                                 12          A. I have no reason to agree or disagree with
                                                 13      it.
                                                 14          Q. Okay. The -- the last bullet point also
:37
:35                                              15      cites "multiple loss circulation events during the
                                                 16      drilling of the well." Do you see that?
                                                 17          A. I do.
                                                 18          Q. And the report reflects that these events
                                                 19      were managed effectively by the TransOcean crew;
:37
:35                                              20      is that correct?
                                                 21          A. It says that they were managed effectively
                                                 22      by the rig crews, yeah.
                                                 23          Q. You understand that to mean the TransOcean
                                                 24      rig crew, right?
                                                 25          A. I understand it was a TransOcean rig.
                                            54                                                            56
                                                     1      Q. And you have no reason, as you sit here
                                                     2   today, to disagree with that?
                                                     3      A. I don't.

9:36
9:38




9:36
9:38   1                                         1




9:36
9:51




9:36
9:52




                                                                             14 (Pages 53 to 56)
                       PURSUANT TO CONFIDENTIALITY ORDER
           Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 20 of 52

                                                         1                                                           3
             UNITED STATES DISTRICT COURT                     1   APPEARING FOR MOEX:
                                                                   Ms. Catherine C. McCulley
             EASTERN DISTRICT OF LOUISIANA                    2    PILLSBURY WINTHROP SHAW PITTMAN
                                                                   2 Houston Center
     IN RE: OIL SPILL    ) MDL NO. 2179                       3    909 Fannin, Suite 2000
                                                                   Houston, Texas 77010-1018
     BY THEOIL RIG     )                                      4
     "DEEPWATER HORIZON" IN ) SECTION "J"                     5   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
     THE GULF OF MEXICO, ON )                                      Mr. Geoff Gannaway
                                                              6    BECK, REDDEN & SECREST
     APRIL 20, 2010   ) JUDGE BARBIER                              One Houston Center
                 ) MAG. JUDGE SHUSHAN                         7    1221 McKinney Street, Suite 4500
                                                                   Houston, Texas 77010-2010
                                                              8
                                                              9   APPEARING FOR WEATHERFORD:
                                                                   Ms. Virginia Weichert Gundlach
                                                             10    JONES, WALKER, WAECHTER, POITEVENT,
                                                                   CARRERE & DENEGRE, LLP
                                                             11    201 St. Charles Avenue
                                                                   New Orleans, Louisiana 70170-5100
                                                             12
                                                             13   APPEARING FOR DRIL-QUIP, INC.:
                                                                   Ms. Wendy Ware Bishop
                                                             14    WARE, JACKSON, LEE & CHAMBERS
                                                                   America Tower, 42nd Floor
                                                             15    2929 Allen Parkway
                                                                   Houston, Texas 77019-7101
                 *****************                           16
                                                             17   APPEARING FOR M-I SWACO:
                    VOLUME 1                                       Mr. Steven A. Luxton
                 *****************                           18    MORGAN, LEWIS & BOCKIUS, LLP
                                                                   1111 Pennsylvania Avenue, NW
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                                                             20
          Deposition of Scherie Douglas, taken at                 APPEARING FOR HALLIBURTON:
     the Pan-American Building, 601 Poydras Street,          21    Mr. Floyd R. Hartley, Jr.
                                                                   Ms. Lauren L. Mitchell
     11th Floor, New Orleans, Louisiana, 70130, on the       22    GODWIN RONQUILLO
     11th day of October, 2011.                                    Renaissance Tower
                                                             23    1201 Elm Street, Suite 1700
                                                                   Dallas, Texas 75270-2041
                                                             24
                                                             25

                                                         2                                                           4
 1          APPEARANCES                                       1   APPEARING FOR THE UNITED STATES:
 2                                                                  Mr. Daniel A. Spiro
 3   APPEARING FOR THE PLAINTIFFS' STEERING COMMITTEE:        2     U.S. DEPARTMENT OF JUSTICE
      Mr. William W. Dills
 4    WILLIAMSON & RUSNAK
                                                                    CIVIL DIVISION, FRAUD SECTION
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 5    Houston, Texas 77006-5818                                     Washington, D.C. 20004
 6    Mr. Guy E. Matthews                                     4     Post Office Box 261
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 7    200 Bering Drive, Suite 700                             5     Washington, D.C. 20044
      Houston, Texas 77057-3778                               6     Ms. Elizabeth Young
 8
                                                                    U.S. DEPARTMENT OF JUSTICE
 9   APPEARING FOR BP, INC.:
      Mr. Frank M. Holozubiec                                 7     601 D Street, N.W.
10    KIRKLAND & ELLIS                                              Washington, D. C. 20004
      Citigroup Center                                        8
11    153 East 53rd Street                                    9   APPEARING FOR THE STATE OF LOUISIANA:
      New York, New York 10022-4611                                 Mr. Henry Dart
12                                                           10     510 North Jefferson Street
       Ms. Catherine E. Stahl                                       Covington, Louisiana 70433
13     KIRKLAND & ELLIS
       300 North LaSalle
                                                             11
14     Chicago, Illinois 60654                               12   APPEARING FOR THE WITNESS SCHERIE DOUGLAS:
15                                                                  Mr. Robert P. Trout
     APPEARING FOR TRANSOCEAN:                               13     Ms. Gloria B. Solomon
16    Mr. Paul C. Thibodeaux                                        TROUT CACHERIS
      FRILOT                                                 14     1350 Connecticut Avenue, N.W., Suite 300
17    1100 Poydras Street, Suite 3600                               Washington, D.C. 20036
      New Orleans, Louisiana 70163
18
                                                             15
       Mr. M. Benjamin Alexander                             16   ALSO PRESENT:
19     PREIS & ROY                                                 Mr. Peter Jennings, Videographer
       Versailles Centre, Suite 400                          17    Mr. Danny Damiani
20     102 Versailles Boulevard                              18
       Lafayette, Louisiana 70501                            19
21                                                           20
22   APPEARING FOR ANADARKO PETROLEUM COMPANY:               21
      Mr. Matthew I. Kliegman
23    BINGHAM MCCUTCHEN                                      22
      399 Park Avenue                                        23
24    New York, New York 10022-4689                          24
25                                                           25

                                                                                                      1 (Pages 1 to 4)
                                      PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 21 of 52

                                    285                                                     287




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                                    286                                                     288




                                           5      Q.         Are you notified when INC is
                                           6   issued for a rig?
                                           7      A. I would be notified if it was my rig,
                                           8   yes.
                                           9      Q. If it was your rig?
1                                         10      A. Yes.
                                          11      Q. Okay. Were there any INCs issued for the
                                          12   Macondo rig -- or for the DEEPWATER HORIZON while
                                          13   it was on the Macondo Well?
                                          14      A. There was not any instance of
                                          15   noncompliance for the HORIZON.




                                                               72 (Pages 285 to 288)
                PURSUANT TO CONFIDENTIALITY ORDER
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 22 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                   Reported by:


JAMES H. DUPREE VOL. II June 17, 2011                                                              SANDRA D. FILES, CCR

                                                                                                                     Page 357
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                          Volume 2 of 2 of the Videotaped
               Deposition of JAMES H. DUPREE, 314 Knipp
               Road, Houston, Texas 77024, taken in the
               Pan American Life Center, 11th Floor, 601
               Poydras Street, New Orleans, Louisiana
               70130, on Friday, June 17, 2011.


               APPEARANCES:



               DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGE'
               By: Michael C. Palmintier, Esquire
               618 Main Street
               Baton Rouge, LA 70801-1910
                          (Attorneys for Plaintiffs
                          Steering Committee)




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                                                                                                           9734d017-737b-430d-b99f-853767a24a41
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 23 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:


JAMES H. DUPREE VOL. II June 17, 2011                                                                                   SANDRA D. FILES, CCR
                                                                                           Page 386                                                Page 388


   2                                                                                                  2




 10                                                                                                   10




                                                                                           Page 387                                                Page 389




 10                                                                                                   1




                                                                                                      15       Q.          Well, tell me a little
                                                                                                      16   bit about your observations of the
                                                                                                      17   competency and professionalism of the
                                                                                                      18   individuals at Transocean with whom you had
                                                                                                      19   the opportunity to work or interact with.
                                                                                                      20       A. So those individuals in the past
                                                                                                      21   or --
                                                                                                      22       Q. Yes. In your dealings with --
                                                                                                      23       A. So I thought they were quite
                                                                                                      24   professional and did a good job.
                                                                                                      25       Q. At any time did any of those
                                                                                                                             9 (Pages 386 to 389)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                          Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                                Facsimile: (504) 525-9109
                                                                                                                                     9734d017-737b-430d-b99f-853767a24a41
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 24 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                              Reported by:


JAMES H. DUPREE VOL. II June 17, 2011                                                                                   SANDRA D. FILES, CCR
                                                                                           Page 390                                                 Page 392
   1       individuals you dealt with at Transocean
   2       ever indicate to you that they were
   3       indifferent to the health and welfare of
   4       individuals that worked on their drilling
   5       rigs?
   6          A. No.



 10                                                                                                   10




                                                                                           Page 391                                                 Page 393




 10                                                                                                   1




                                                                                                      22    Q. But bottom line, you never
                                                                                                      23 observed any indifference to the welfare of
                                                                                                      24 individuals or the environment on the part
                                                                                                      25 of Transocean?

                                                                                                                            10 (Pages 390 to 393)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                                          Telephone (504) 525-9100
New Orleans, Louisiana 70130-6029 Board-Certified Court Reporters                                                                 Facsimile: (504) 525-9109
                                                                                                                                      9734d017-737b-430d-b99f-853767a24a41
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 25 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                           Reported by:


JAMES H. DUPREE VOL. II June 17, 2011                                                                      SANDRA D. FILES, CCR
                                                                                           Page 394                              Page 396
  1            A. Me personally, I didn't observe
  2        any indifference.
  3            Q. Okay. And I'm assuming that as
  4        of April 20th, 2010, whatever your
  5        oversight was for the Gulf of Mexico
  6        drilling and production, if someone had
  7        suggested to you -- strike that.
  8                As of April 20th, 2010, had
  9        anyone suggested to you that the Deepwater
 10        Horizon should be taken off line?                                                          10
 11            A. Did anyone in Transocean suggest
 12        that?
 13            Q. No. Had anyone from BP
 14        suggested to you that the Deepwater Horizon
 15        should be taken off line?
 16            A. So you mean taken off line, you
 17        mean -- you mean de -- moved out, taken off
 18        contract or --
 19            Q. Yes.
 20            A. No.
 21            Q. Or that Transocean as a company
 22        should be put in time out?
 23            A. For -- for the Deepwater Horizon
 24        or for all the --
 25            Q. For any -- for anything.
                                                                                           Page 395                              Page 397
  1           A. Official time out, you mean
  2        contractually challenged for their behavior
  3        and policies or --
  4           Q. Well, at the time of April 20th
  5        were they a preferred -- on the preferred
  6        provider list for BP?
  7           A. Yes.
  8           Q. Okay. Had anyone suggested to
  9        you that they should be removed from that
 10        preferred provider list?                                                                   1
 11           A. I'm not in procurement, but no,
 12        I hadn't heard anything --
 13           Q. Okay.
 14           A. -- around that from the -- the
 15        global organization.




                                                                                                            11 (Pages 394 to 397)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C                                                          Telephone (504) 525-9100
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                                                                                                                   9734d017-737b-430d-b99f-853767a24a41
Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 26 of 52




                                 JAMES H. DUPREE       6/16/2011
        IN RE: OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO,
                                         ON APRIL 20, 2010
                             Reported by: SANDRA O. FILES, CCR, RPR
                                                                                                       3SS
          1

          2

          3



           5                 If   JAMES H. DUPREE,           ha~e    read or

           6       havo had the foregoing testimony read to me

           7       and ;1ereby co?rtify t:hat           it is a      t ~'_le   a:;d

           8       cor:::'3ct transcriptior: ot my t.estimony, :oJith

           9       the exception of any attached corrections

          10       or cha.nges.

          :"1

          12


          14

          15

          16

          11
                    {Check One)
           18
                    (    J   NO   CORHECTlmIS,
           i. 9     (')o(}   CORRECT 1ONS;        i::RP.lUl\ SHEET (S ~
                    SNCLOSED.
           20

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           22

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                   601 Poydras Street. Suile 1720    GAUDET KAISER. Ll.C,             Telephone: (50~) 525-9100
                   New Orleans. LA 70130          Board-Certified Court Reporters      Facsimile: (504) 525·9109
           Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 27 of 52

                                                               1                                                             3
                UNITED STATES DISTRICT COURT                        1   APPEARING FOR DRIL-QUIP, INC.:
                                                                          Ms. Wendy W. Bishop
                EASTERN DISTRICT OF LOUISIANA                       2     WARE JACKSON LEE CHAMBERS, LLP
                                                                          America Tower, 42nd Floor
                                                                    3     2929 Allen Parkway
                                                                          Houston, Texas 77019-7101
                                                                    4
     IN RE: OIL SPILL     ) MDL NO. 2179                            5   APPEARING FOR M-I SWACO:
                                                                          Mr. Christopher C. Loeber
     BY THE OIL RIG       )                                         6     MORGAN, LEWIS & BOCKIUS, LLP
                                                                          502 Carnegie Center
     "DEEPWATER HORIZON" IN ) SECTION "J"                           7     Princeton, New Jersey 08540-6241
     THE GULF OF MEXICO, ON )                                       8
                                                                        APPEARING FOR HALLIBURTON:
     April 20, 2010    ) JUDGE BARBIER                              9     Ms. Jenny Martinez
                                                                          Mr. Kodie Bennion
                    ) MAG. JUDGE SHUSHAN                           10     GODWIN RONQUILLO
                                                                          1201 Elm Street, Suite 1700
                                                                   11     Dallas, Texas 75270-2041
                                                                   12
                                                                        APPEARING FOR THE UNITED STATES:
                                                                   13     Mr. A. Nathaniel Chakeres
                                                                          U. S. DEPARTMENT OF JUSTICE
                                                                   14     Environment & Natural Resources Division
                     **************                                       601 D. Street, N. W.
                                                                   15     Washington, D. C. 20004
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                                                                          Mr. Henry Dart
                     **************                                17     ATTORNEY AT LAW
                                                                          510 N. Jefferson Street
                                                                   18     Covington, Louisiana 70433
                                                                   19
                                                                        APPEARING FOR MOEX OFFSHORE 2007 LLC and MOEX USA
           Deposition of STEVEN A. FLYNN, taken at                 20   CORPORATION:
                                                                          Mr. Greg T. Lembrich
     Kirkland & Ellis International, 30 St. Mary Axe, 22nd         21     PILLSBURY, WINTHROP, SHAW, PITTMAN, LLP
     Floor, London EC3A 8AF, England, United Kingdom, on the              1540 Broadway
                                                                   22     New York, New York 10036-4039
     29th of June, 2011.                                           23   APPEARING FOR SECURITIES LEAD SUBCLASS PLAINTIFFS:
                                                                          Mr. Victor S. Elias
                                                                   24     COTCHETT, PITRE & McCARTHY, LLP
                                                                          840 Malcolm Road
                                                                   25     Burlingame, California 94010

                                                               2                                                             4
 1            APPEARANCES
 2
                                                                    1   THE VIDEOGRAPHER:
 3
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                                                                          Mr. Peter Jennings
       WILLIAMS LAW GROUP, LLC                                      2
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       Houma, Louisiana 70360                                       3
 5
       Mr. Ian F. Taylor
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 6     LEWIS, KULLMAN, STERBCOW & ABRAMSON                          5
       2615 Pan-American Life Center
 7     601 Poydras Street                                           6
       New Orleans, Louisiana 70130-6030                            7
 8
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14
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       Chicago, Illinois 60654                                     14
     APPEARING FOR TRANSOCEAN:                                     15
16     Mr. Richard J. Hymel
       Mr. M. Benjamin Alexander                                   16
17     PREIS & ROY                                                 17
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18     102 Versailles Boulevard                                    18
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21     BINGHAM McCUTCHEN, LLP                                      21
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22     New York, New York 10022-4689                               22
23   APPEARING FOR CAMERON INTERNATIONAL CORPORATION:
       Mr. Jeffrey M. Golub
                                                                   23
24     BECK, REDDEN & SECREST                                      24
       1221 McKinney Street, Suite 4500
25     Houston, Texas 77010-2010                                   25
                                                                                                             1 (Pages 1 to 4)
                                         PURSUANT TO CONFIDENTIALITY ORDER
                   Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 28 of 52

                                                                    193                             195




:24
:22




                                                                          1
       11         Q.                  Did anyone ever suggest to you
       12      that Transocean as a corporation had a philosophy of
       13      indifference to the welfare of the environment?
       14         A. I've not heard that.
:25
:23    15         Q. Okay. Or that any of its employees were
       16      indifferent to the welfare of the environment?
       17         A. It's not something I've heard.
       18         Q. Okay. Did anyone ever suggest to you that
       19      Transocean was indifferent to the welfare of
:25
:23    20      individuals?
       21         A. It's not something I've -- I've heard.
       22         Q. Okay. Or that any of its employees were
       23      indifferent to the welfare of individuals. Have you
       24      ever heard that?
       25         A. It's not something I've heard.
                                                                    194                             196
           1      Q. Okay. And if anyone had come to you and                  1
           2   suggested to you that Transocean or any of its employees
           3   were callus, indifferent about the welfare of
           4   individuals or the environment, would -- it would have
5:23
5:26       5   been your obligation to do something about that,
           6   correct?
           7            MR. BROCK: Object to form.
           8      A. That's not something that -- that's happened.

:24
:26    1                                                                  1




:24
:26




:24
:26




                                                                                  49 (Pages 193 to 196)
                                      PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 29 of 52




                                                                           323

        1             I, STEVEN A. FLYNN, have read the foregoing
            deposition and hereby affix my signature that same is
        2   true and correct, except as noted above.


                             d~
        3
        4
                            STEVEN A. FLYNN
        5
        6
        7   STATE OF                 *
            COUNTY OF                *
        8

                       Before me,                          , on this day
                                  --~---------------------
        9   personally appeared STEVEN A. FLYNN, known to me, or
            proved to me under oath or through
       10    (description of identity card or other document), to be
            the person whose name is subscribed to the foregoing
       11   instrument and acknowledged to me that they executed the
            same for the purposes and consideration therein
       12   expressed.
       13              Given under my hand and seal of office on
            this, the        day of                   , 2011.
       14
       15
       16
                               -----------------~-.-------

                               Notary Public, State of
       17
       18   My Commission Expires: _.__________ .~ _____
      19
       20
       21
      22
      23
      24
      25




                        PURSUANT TO CONFIDENTIALITY ORDER
              Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 30 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                               Reported by:

CHERYL ANN GROUNDS                                                      May 4, 2011           THU BUI, CCR, RPR

                                                                                                                  Page 1
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


            IN RE: OIL SPILL                            )         MDL NO. 2179
            by the OIL RIG,                             )
            DEEPWATER HORIZON in                        )         SECTION "J"
            the GULF OF MEXICO,                         )
            April 20, 2010                              )         JUDGE BARBIER
                                                        )
                                                        )         MAG. JUDGE
                                                        )         SHUSHAN




                       Deposition of CHERYL ANN
            GROUNDS, taken at Pan-American Building,
            601 Poydras Street, 11th Floor, New
            Orleans, Louisiana, 70130, on the 4th of
            May, 2011.




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                  Board-Certified Court Reporters      Facsimile:(504) 525-9109
                                                                                                     bd54044d-229f-4a33-b6f4-2e2873c28730
              Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 31 of 52
In Re: OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                                Reported by:

CHERYL ANN GROUNDS                                                      May 4, 2011            THU BUI, CCR, RPR
                                                                        Page 350                                    Page 352




  5         Q. I want to ask those same
  6     questions with regard to Transocean.
  7                Are you aware of any
  8     evidence that anyone or the company itself
  9     deliberately wanted to cause injury to the
 10     environment or to any person?
 11         A. No.
 12         Q. Do you know of any evidence that
 13     anyone or the company itself in -- was
 14     malicious or didn't care in any way about
 15     causing injury to another human or to the
 16     environment?
 17         A. No.
 18         Q. Are you aware of any evidence
 19     that anyone or the company, Transocean,
 20     willfully inflicted harm on any person or
 21     to the environment?
 22         A. No.
 23         Q. Are you aware of any negligent
 24     conducts or any evidence of any negligent
 25     conduct on behalf of Transocean or its crew
                                                                        Page 351                                    Page 353
  1     on April the 20th, 2010?                                                           1
  2            MR. DART:
  3              Object to form.
  4        A. My only understanding of any
  5     Transocean participation is by virtue of
  6     the Bly report.
  7        Q. Are you aware of any evidence of
  8     negligence on the part of Transocean
  9     yourself?
 10            MR. DART:
 11              Object to form.
 12        A. No.
 13




                                                                                               89 (Pages 350 to 353)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                 Board-Certified Court Reporters        Facsimile:(504) 525-9109
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Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 32 of 52




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                           WITNESS CERTIFICATE



                  I,   CHERYL ANN GROUNDS, have read or have

                  had the foregoing testimony read to me and

                  hereby certify that            it    is   a    true and correct

                  transcription         of       my testimony,                with the

                  exception        of     any         attached corrections          or

                  changes.



         j   7 .-70J& 20!f                            (lLtvl tA 2focc ~
        (Date Signed)                                   (Signature)



             K7        Signed with corrections as attached.

                       Signed with no corrections noted.
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 33 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                   Reported by:

A. JOHN GUIDE                                                                                  May 9, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                        Page 1
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:                J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                      Deposition of A. JOHN GUIDE, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Monday, May 9,
               2011.



               APPEARANCES:



                                 COTCHETT, PITRE & MCCARTHY
                                 (By: Bryan Payne, Esquire)
                                 San Francisco Airport Office Center
                                 840 Malcolm Road
                                 Suite 200
                                 Burlingame, California 94010
                                     (Attorneys for MDL 2185
                                      Securities plaintiffs subclass)




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                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 34 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO, on APRIL 20, 2010                                                             Reported by:

A. JOHN GUIDE                                                                                  May 9, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                           Page 194                                                Page 196




                                                                                           Page 195                                                Page 197
   1




                                                                                                      10          And then there were other risk
                                                                                                      11   assessments that were done by and
                                                                                                      12   controlled by Transocean which was part of
                                                                                                      13   the SMS system, which was safety management
                                                                                                      14   system which we operated under.
                                                                                                      15          And they had a, in my opinion, a
                                                                                                      16   good safety management system that included
                                                                                                      17   risk assessments.
                                                                                                      18




                                                                                                                           50 (Pages 194 to 197)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                      Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                    Facsimile: (504) 525-9109
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                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 35 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                   Reported by:

A. JOHN GUIDE VOL. II                                                                         May 10, 2011 JOSEPH R. KAISER, JR., CCR, RPR


                                                                                                                                   Page 471
                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA



                  IN RE: OIL SPILL                                     MDL NO. 2179
                  BY THE OIL RIG
                  "DEEPWATER HORIZON"                                  SECTION:               J
                  IN THE GULF OF
                  MEXICO, ON APRIL                                     JUDGE BARBIER
                  20, 2010                                             MAG. JUDGE SHUSHAN




                                                        VOLUME II

                      Deposition of A. JOHN GUIDE, taken
               in the Pan American Life Center, Bayou
               Room, 11th Floor, 601 Poydras Street, New
               Orleans, Louisiana 70130, on Tuesday, May
               10, 2011.



               APPEARANCES:


                                 COTCHETT, PITRE & MCCARTHY
                                 (By: Bryan Payne, Esquire)
                                 San Francisco Airport Office Center
                                 840 Malcolm Road
                                 Suite 200
                                 Burlingame, California 94010
                                     (Attorneys for MDL 2185
                                      Securities plaintiffs subclass)




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                              Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters           Facsimile: (504) 525-9109
                                                                                                                          378c5df3-294a-4e03-84f3-f44083220b92
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 36 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                  Reported by:

A. JOHN GUIDE VOL. II                                                                          May 10, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 480                                                Page 482

   2


   4


   6



   9



 12



 15
                                                                                                         14       Q. In your position as wells team
                                                                                                         15   leader for the DEEPWATER HORIZON, you got
 17
                                                                                                         16   to know the condition of the DEEPWATER
                                                                                                         17   HORIZON; correct?
                                                                                                         18       A. I did.
                                                                                                         19       Q. And I take it you were involved
                                                                                                         20   in the September 2009 audit of the rig and
                                                                                                         21   you were involved in resolving the issues
                                                                                                         22   identified in the audit?
                                                                                                         23       A. That's correct.
 24
                 * * * * *
                                                                                                         24       Q. And you personally spoke with
 25                                                                                                      25   Paul Johnson on a regular basis, once a
                                                                                              Page 481                                                Page 483
   1                                                                                                      1   week or every 10 days or so to make sure
                                                                                                          2   that Transocean was making progress
                                                                                                          3   concerning the audit findings; correct?
                                                                                                          4       A. Correct.
                                                                                                          5       Q. And you believe that Transocean
                                                                                                          6   was making very good progress in addressing
                                                                                                          7   the audit items; correct?
                                                                                                          8       MS. KARIS:
                                                                                                          9          Object to form.
                                                                                                         10       THE WITNESS:
                                                                                                         11          Correct.
                                                                                                         12   EXAMINATION BY MR. HYMEL:
                                                                                                         13       Q. Let's talk about Transocean
                                                                                                         14   personnel. Obviously you knew Mr. Johnson,
                                                                                                         15   you spoke with him regarding the audit.
                                                                                                         16   Did you know Jimmy Harrell?
                                                                                                         17       A. Yes.
                                                                                                         18       Q. Randy Ezell?
                                                                                                         19       A. Yes.
                                                                                                         20       Q. Jason Anderson?
                                                                                                         21       A. Not as well as the other two but
                                                                                                         22   I did know him.
                                                                                                         23       Q. Did you know Dewey Revette?
                                                                                                         24       A. Yes.
                                                                                                         25       Q. Did you you know Stephen Curtis?
                                                                                                                                4 (Pages 480 to 483)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                          Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                        Facsimile: (504) 525-9109
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                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 37 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                    Reported by:

A. JOHN GUIDE VOL. II                                                                          May 10, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 484                                                  Page 486
  1            A. Not very well but to see him,                                                           1       Q. Did you ever experience any
  2        yes.                                                                                           2   indication that he was indifferent or
  3            Q. Did you know Don Clark?                                                                 3   callous towards the safety of individuals
  4            A. Yes.                                                                                    4   or the environment?
  5            Q. Did you know Captain Kuchta?                                                            5       A. No.
  6            A. Yes.                                                                                    6       Q. Was it just the opposite? Did
  7            Q. You actually learned about the                                                          7   you feel like he had a concern for
  8        explosion from Paul Johnson; is that                                                           8   individuals and the environment?
  9        correct?                                                                                       9       A. Yes.
 10            A. That is correct.                                                                       10       Q. From your experience with
 11            Q. Now, knowing the competency of                                                         11   Mr. Johnson, what was the attitude toward
 12        the crew and the condition of the rig, did                                                    12   safety of individuals and the environment?
 13        it surprise you when you learned what                                                         13       MS. KARIS:
 14        occurred?                                                                                     14          Object to form.
 15            A. Yes.                                                                                   15       THE WITNESS:
 16            Q. And why?                                                                               16          I thought he had a good attitude
 17            A. It never crossed my mind that                                                          17   towards safety and the environment.
 18        that would happen.                                                                            18   EXAMINATION BY MR. HYMEL:
 19            Q. You visited that rig in 2010;                                                          19       Q. Were you comfortable with
 20        correct?                                                                                      20   Mr. Harrell as the OIM of the DEEPWATER
 21            A. Yes.                                                                                   21   HORIZON?
 22            Q. And during that visit did you                                                          22       A. Yes.
 23        sleep on the rig?                                                                             23       Q. Did you ever experience any
 24            A. Yes.                                                                                   24   indication that he was indifferent or
 25            Q. If you had any concerns about                                                          25   callous towards the safety of individuals
                                                                                              Page 485                                                  Page 487
  1        the safety of that rig, would you have                                                         1   or the environment?
  2        slept on it?                                                                                   2       A. No.
  3            A. No.                                                                                     3       Q. In your experience with
  4            Q. In February? The men we                                                                 4   Mr. Harrell, what was his attitude toward
  5        discussed, the guys that you know, did any                                                     5   the safety of the individuals and the
  6        of them seem like men that would lie to                                                        6   environment?
  7        you?                                                                                           7       A. It was good.
  8            A. No.                                                                                     8       Q. How well did you know Randy
  9            Q. Did any of them seem like men                                                           9   Ezell?
 10        who would themselves hide issues that would                                                   10       A. I knew him, you know, fairly
 11        subject them or anyone else to safety                                                         11   well.
 12        issues out on that rig?                                                                       12       Q. Were you comfortable with Randy
 13            A. No.                                                                                    13   Ezell as the senior toolpusher on the
 14            Q. How well did you know Paul                                                             14   DEEPWATER HORIZON?
 15        Johnson?                                                                                      15       A. Yes.
 16            A. I met him in September, August,                                                        16       Q. Did you ever experience any
 17        the end of August of 2009 so I knew him                                                       17   indication that he was indifferent or
 18        from then until the incident. I've not                                                        18   callous towards the safety of the
 19        seen him very much since then, no. Six                                                        19   individuals or the environment?
 20        months.                                                                                       20       A. No.
 21            Q. I'm sorry. I apologize.                                                                21       Q. In your experience with
 22            A. Six months.                                                                            22   Mr. Ezell, what was his attitude toward the
 23            Q. Were you comfortable with Paul                                                         23   safety of individuals and the environment?
 24        Johnson as the rig manager?                                                                   24       A. Good.
 25            A. Yes.                                                                                   25       Q. Were you comfortable with Jason
                                                                                                                                 5 (Pages 484 to 487)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                          Facsimile: (504) 525-9109
                                                                                                                                           378c5df3-294a-4e03-84f3-f44083220b92
                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 38 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                   Reported by:

A. JOHN GUIDE VOL. II                                                                          May 10, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 488                                                 Page 490
  1        Anderson as a toolpusher on the DEEPWATER                                                      1   individuals or the environment?
  2        HORIZON?                                                                                       2       A. No.
  3            A. Yes.                                                                                    3       Q. In your experience with him,
  4            Q. Did you ever experience any                                                             4   what was his attitude toward the safety of
  5        indication that he was indifferent or                                                          5   the individuals and the environment?
  6        callous towards the safety of individuals                                                      6       A. Good.
  7        or the environment?                                                                            7       Q. If you could turn back the clock
  8            A. No.                                                                                     8   knowing what you know today, if this same
  9            Q. In your experience with                                                                 9   crew was assigned to a different rig, would
 10        Mr. Anderson, what was his attitude toward                                                    10   you feel comfortable and confident to
 11        the safety of the individuals and the                                                         11   serving as the wells team leader for that
 12        environment?                                                                                  12   rig with that same exact crew with regard
 13            A. It was okay.                                                                           13   to safety and the ability to effectively
 14            Q. Dewey Revette, how well did you                                                        14   drill deepwater wells?
 15        know him?                                                                                     15       A. Yes.
 16            A. You know, not very well, but I                                                         16       Q. There's a section in the Bly
 17        did visit with him on numerous occasions.                                                     17   report, and I brought a copy in case you
 18            Q. Did you feel comfortable with                                                          18   don't have it. It was Exhibit 1 and we
 19        Mr. Revette as one of the drillers on the                                                     19   were bringing all the exhibits and it got
 20        DEEPWATER HORIZON?                                                                            20   cumbersome so I brought copies for you and
 21            A. Yep.                                                                                   21   your attorney if you need it.
 22            Q. Did you ever experience any                                                            22       MR. STETLER:
 23        indication that he was indifferent or                                                         23           Thank you.
 24        callous towards the safety of individuals                                                     24   EXAMINATION BY MR. HYMEL:
 25        or the environment?                                                                           25       Q. I want you to turn to page 43 of
                                                                                              Page 489                                                 Page 491
  1           A. No.                                                                                      1   that report, the last paragraph down at the
  2           Q. In your experience with                                                                  2   bottom, the first sentence, you see that
  3        Mr. Revette, what was his attitude towards                                                     3   starts with key members?
  4        the safety of individuals and the                                                              4       A. Yes, sir.
  5        environment?                                                                                   5       Q. That sentence says, and this is
  6           A. It was okay.                                                                             6   in the Bly report, key members of the rig
  7           Q. Now, Mr. Curtis, did you know                                                            7   crew need to be trained and demonstrate
  8        him well enough to have formed an opinion                                                      8   competency.
  9        on his competency?                                                                             9           Am I safe in assuming that based
 10           A. No, I do not.                                                                           10   upon everything that we just discussed,
 11           Q. And Mr. Clark, the same                                                                 11   that you did not feel like Paul Johnson,
 12        question, did you know him well enough to                                                     12   Jimmy Harrell, Randy Ezell, Jason Anderson,
 13        form an opinion of his competency?                                                            13   Dewey Revette or Captain Kuchta were in
 14           A. No, I do not.                                                                           14   need of any additional training to show any
 15           Q. Captain Kuchta, did you know him                                                        15   additional competency?
 16        well enough to form an opinion on his                                                         16       MS. KARIS:
 17        competency?                                                                                   17           Object to form.
 18           A. Yes.                                                                                    18       THE WITNESS:
 19           Q. Were you comfortable with                                                               19           That's correct.
 20        Captain Kuchta as the captain of the
 21        DEEPWATER HORIZON?
 22           A. Yes.
 23           Q. Did you ever experience any
 24        indication that he was indifferent or
 25        callous towards the safety of the
                                                                                                                                 6 (Pages 488 to 491)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                           Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                         Facsimile: (504) 525-9109
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                  Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 39 of 52
In Re: OIL SPILL by the OIL RIG "DEEPWATER HORIZON" in the GULF OF MEXICO on APRIL 20, 2010                                                                 Reported by:

A. JOHN GUIDE VOL. II                                                                          May 10, 2011 JOSEPH R. KAISER, JR., CCR, RPR

                                                                                              Page 496                                               Page 498
                                                                                                         1      Q. It's your opinion that
                                                                                                         2   Transocean has a safety management system
                                                                                                         3   that they use all over the world and that
                                                                                                         4   Transocean is very good at managing that
                                                                                                         5   safety management system; is that correct?
                                                                                                         6      MS. KARIS:
                                                                                                         7           Object to form.
                                                                                                         8      THE WITNESS:
                                                                                                         9           That's correct.




                                                                                              Page 497                                               Page 499
   1                                                                                                     1




                                                                                                                               8 (Pages 496 to 499)
601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                                                         Telephone: (504) 525-9100
New Orleans, LA 70130-6029                                                Board-Certified Court Reporters                       Facsimile: (504) 525-9109
                                                                                                                                        378c5df3-294a-4e03-84f3-f44083220b92
 Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 40 of 52


                                                                       Page 448
              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL          )     MDL NO. 2179
BY THE OIL RIG            )
"DEEPWATER HORIZON" IN    )     SECTION "J"
THE GULF OF MEXICO, ON    )
APRIL 20, 2010            )     JUDGE BARBIER
                          )     MAG. JUDGE SHUSHAN




                    *****************
                         VOLUME 2
                    *****************




         Deposition of Anthony Hayward, taken at
Kirkland & Ellis International, 30 St. Mary Axe, 22nd
Floor, London EC3A 8AF, England, United Kingdom, on the
8th of June, 2011.




            PURSUANT TO CONFIDENTIALITY ORDER
                                                              f43521ab-d719-42e1-aa06-8768f1f9a456
     Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 41 of 52

                                Page 537                                                   Page 539




                                           10    Q. (By Mr. Roberts) Do you know Transocean, sir?
                                           11    A. I do, yeah.
                                           12    Q. How do you know it?
                                           13    A. As one of the world's largest and most
                                           14 respected drilling contractors.
                                           15




25
                                Page 538                                                   Page 540
1

                                            3      Q. Is -- was BP, at least as of the time you
                                            4   left -- excuse me.
                                            5          Was Transocean, as of the time you left BP,
                                            6   one of the preferred providers throughout the world for
                                            7   BP in drilling its deepwater wells?
                                            8      A. It was.
                                            9
1                                          1




                                                                            high regard?

                                                                  24 (Pages 537 to 540)
               PURSUANT TO CONFIDENTIALITY ORDER
                                                                              f43521ab-d719-42e1-aa06-8768f1f9a456
         Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 42 of 52

                                               Page 541                              Page 543


 2      Q. All right. Did anyone in your Senior
 3   Management or lower down ever come to you and suggest
 4   to you that Transocean, as a corporation, had a
 5   philosophy of indifference to the welfare of the
 6   environment?
 7      A. No.
 8      Q. Or that any of its employees were indifferent
 9   to the welfare of the environment?
10      A. No.
11      Q. Did anyone in your Senior Management ever come
12   to you and say Transocean was indifferent to the
13   welfare of individuals, the employees and -- and their
14   health?
15      A. No.
16      Q. All right. Have you ever heard that suggested
17   by anyone?
18      A. Not in the time I was at BP.
19




                                               Page 542                              Page 544
                                                              1
2


 5      Q. If anyone in your company had ever come to you
 6   and suggested that Transocean was callous, indifferent,
 7   or just didn't plain give a damn about the welfare of
 8   the environment or individuals, wouldn't it have been
 9   your obligation as CEO to either terminate the
10   relationship with Transocean or appoint someone to look 10
11   into those allegations?
12             MR. WEBB: Objection, form.
13             MR. GODFREY: Object as to form.
14      A. The reality, of course, that if that was --
15   had been the case, other -- others would have taken
16   action before it got to me, I'm certain.




                                                                  25 (Pages 541 to 544)
                        PURSUANT TO CONFIDENTIALITY ORDER
                                                                        f43521ab-d719-42e1-aa06-8768f1f9a456
         Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 43 of 52

                                                Page 545                                                     Page 547
                                                             1       Q. -- drilling rig?
                                                             2          Did you get a chance to talk to some of your
                                                             3    employees who worked on the DEEPWATER HORIZON with
                                                             4    these men?
                                                             5       A. I did.
                                                             6       Q. And did you get the impression that they all
                                                             7    considered themselves one big family, even though they
                                                             8    were from different companies?
                                                             9       A. Yes.




20    Q. That -- that service, the Memorial Service you
21 attended, was that the Transocean Memorial Service?
22    A. It was. It was.
23    Q. And -- and at that service, you met a number
24 of the families?
25    A. I did.
                                                Page 546                                                     Page 548
 1      Q. A number of the people involved in the rig?        1
 2      A. Yes.
 3      Q. And you at least got a sense of their
 4   feelings, their attitudes, and their emotions, correct?
 5      A. I did, yes.
 6      Q. What did you think about those folks?
 7      A. I thought they were great people, and I was
 8   deeply touched by the sorrow that they were feeling and
 9   the loss that they experienced.
10      Q. Did you get any inim -- any impression from       10
11   them that they were callous or hardened people that
12   didn't care about the welfare of others?
13      A. No.
14      Q. Quite the contrary, did you -- did you get the
15   impression that those employees that you met were
16   deeply care -- deeply cared about others and their own
17   family?
18      A. Indeed, yes.
19      Q. Their own drilling family, I'm talking about.
20      A. Yeah. I -- I understand your -- entirely your
21   sentiment.
22      Q. Did you get the impression of how close the
23   family on the drilling rig was; that is, the men that
24   worked together on the --
25      A. I did.

                                                                                    26 (Pages 545 to 548)
                        PURSUANT TO CONFIDENTIALITY ORDER
                                                                                                f43521ab-d719-42e1-aa06-8768f1f9a456
    Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 44 of 52

                                    548                                                        550




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                                    549                                                        551




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                                          12     Q. (By Mr. Roberts) What I've handed to you is a
                                          13   transcript of a -- it's actually a copy of a "Forbes"
                                          14   magazine interview entitled, "In His Own Words: Forbes
                                          15   Q&A With BP's Tony Hayward," and dated May 18, 2010.
                                          16   Do you see that, sir?
                                          17     A. I do.
                                          18     Q. Do you recall giving this interview?
                                          19     A. I don't, no.
                                          20     Q. Sir?
                                          21     A. I don't recall it, no.
                                          22     Q. You were giving a lot of interviews --
                                          23     A. I was doing lots of -- lots of things.
                                          24     Q. It -- it says: "Last" -- it begins: "Last
                                          25   week Forbes sat down with BP Chief Executive Tony

                                                               26 (Pages 548 to 551)
                PURSUANT TO CONFIDENTIALITY ORDER
       Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 45 of 52

                                                      552                                                           554
 1   Hayward at the company's emergency response center in      1      Q. -- "are so high..."
 2   Houston," then goes on to say something that I am sure     2      A. I'm sorry. Yes. M-h'm, yeah. Yes.
 3   is inaccurate: "A well-rested Hayward shared his           3      Q. All right. Let's start with that. What does
 4   thoughts..."                                               4   "self-insurance" mean to you, at least when you were
 5         I can't imagine you were well-rested at that         5   CEO of BP?
 6   point.                                                     6      A. It meant that the company didn't have an
 7      A. It's the definition of "well-rested," of             7   insurance policy against the risks it was -- it was
 8   course, but at the time I was getting probably four or     8   undertaking, in essence, and the -- and as it says
 9   five hours' sleep a night.                                 9   here, we self-insured and took those risks onto our
10      Q. Yeah.                                               10   balance sheet.
11         I want to go to the last page. There's a            11      Q. Is -- is "self-insured" an -- another way of
12   question that's asked of you beginning at the top:        12   saying "no insurance"?
13   "That makes me think...you didn't mean a real insurance   13      A. Yes. Well, no -- no external third-party
14   policy of course, but if one was to go to Lloyd's of      14   insurance, yeah.
15   London and insure against a 25 billion hit to my market   15      Q. All right.
16   cap and 5 billion in punitive damages, what kind of       16      A. Yes.
17   premiums would you have to pay?"                          17      Q. So BP elected to have no external insurance --
18         The answer that's written down here is: "You        18      A. M-h'm.
19   can't insure. That's why we're self-insured. You          19      Q. -- for terms of the environmental risks that
20   can't insure risks you want to insure. And the things     20   might be occasioned in connection with deepwater
21   you can insure, premiums are so high that it makes no     21   drilling?
22   sense for a company like" P -- "BP to do anything other   22            MR. GODFREY: Objection as to form.
23   than self-insure." Do you see that, sir?                  23      A. We had no external insurance for anything at
24      A. I do.                                               24   BP.
25      Q. Do you recall giving that answer?                   25      Q. (By Mr. Roberts) For anything at BP?
                                                      553                                                           555
 1     A. I -- I don't, but it's -- it's not an                 1     A. That's correct.
 2   unreasonable answer. I don't recall it, no.                2     Q. Okay. I don't know about the cars y'all drive
 3     Q. You're not denying that you gave it?                  3   or that kind of stuff. I'm -- I'm only interested in
 4     A. No.                                                   4   deepwater drilling --
 5     Q. You just --                                           5     A. Obviously we're think -- thinking of --
 6     A. Yeah, yeah.                                           6     Q. -- particularly the Gulf of Mexico.
 7     Q. -- don't recall giving it?                            7     A. -- any other operational activity.
 8     A. I don't recall, yeah.                                 8     Q. Okay. The statement here that the premiums
 9     Q. And the answer that is there is certainly             9   are so high that it makes no sense, like BP, to do
10   consistent with your thought process and your             10   anything else other than self-insure, am I right that
11   understanding of the situation?                           11   BP, some years ago, made a corporate decision that the
12            MR. GODFREY: Objection as to form.               12   differential between the cost of having insurance in
13     A. Certainly that BP is self-insured. We don't          13   connection with the claims that it was covering were
14   have insurance policies in place, correct.                14   such that BP might as well not have insurance, handle
15     Q. (By Mr. Roberts) Right.                              15   the claims itself, and in the end save itself money?
16     A. Certainly --                                         16     A. That's cor -- that was a decision taken in
17     Q. It goes on to say that if you did get                17   about 1991.
18   insurance, "...the premiums are so high that it makes     18     Q. And that was still the decision in effect at
19   no sense for a company like BP to do anything other       19   the time --
20   than self-insure." Is that accurate as well?              20     A. M-h'm.
21     A. Can -- sorry. The -- you -- you mean the next        21     Q. -- you undertook your --
22   question, or is --                                        22     A. That's correct.
23     Q. No, the next statement, "...and the things you       23     Q. -- undertook the CEO position?
24   can insure, the premiums" --                              24     A. That's correct.
25     A. I'm sorry.                                           25     Q. That was still the situation as of Macondo?
                                                                                    27 (Pages 552 to 555)
                         PURSUANT TO CONFIDENTIALITY ORDER
      Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 46 of 52

                                                     556                                                             558
 1      A. That's correct.                                     1   have a contract in front of me, and I won't remember
 2      Q. Is there any reason, in your mind, to think         2   the right language. But if there was -- if there was
 3   that deepwater well pollution insurance, if it's not      3   reasons to believe that the contractor was at fault,
 4   affordable on a practical level to BP, would be           4   then the indemnity may or may not apply.
 5   affordable on a practical level to somebody like          5      Q. (By Mr. Roberts) "At fault" meaning what?
 6   Halliburton or MI or Dril-Quip or Transocean?             6             MR. WEBB: Well, object to the form.
 7             MR. WEBB: Object to the form.                   7   Object to the form of the question, without a document.
 8             MR. GODWIN: Objection as to form.               8             MR. GODFREY: The same objection.
 9      A. I don't know anything about the insurance           9      A. A -- a -- a -- some sort -- some form of
10   market, I'm afraid, so I can't make that -- take that    10   fault. I'm not a lawyer. I'm not going to try and
11   view. I think everyone, every company, looks at the      11   describe a legal description.
12   risks that they're undertaking, the cost of insurance,   12      Q. (By Mr. Roberts) All right. Well, let's --
13   and weighs that against the likelihood of occurrence,    13      A. I certainly won't try and do it without the --
14   and makes a decision appropriately. I -- I'm -- I --     14      Q. Let's go back up --
15   but I'm not an expert in the insurance market, so I      15      A. -- without the contract in front of us.
16   can't answer your question, I'm afraid.                  16      Q. Let's go back up to your level, the
17      Q. (By Mr. Roberts) Did you have any expectation      17   40,000-foot level of a CEO. And I don't mean that
18   that your subcontractors would go out and purchase       18   disrespectfully. I understand you don't read the
19   insurance for you, since you had a -- made a corporate   19   details of every contract -- of all your contracts.
20   decision not to purchase insurance for yourself?         20         But what -- what was the industry -- you
21             MR. WEBB: Objection, form.                     21   talked yesterday at length about the industry. In
22             MR. GODFREY: Same objection.                   22   general, what was the industry allocation of
23      A. We had no expectation of what our contractors      23   environmental risk between an Operator such as BP and
24   did and did not -- insur -- what insurance our           24   subcontractors who worked for the Operator while
25   contractors did and did not purchase with respect to     25   drilling wells for the Operator?
                                                     557                                                             559
 1   risks that they were undertaking.                        1            MR. WEBB: Object to form.
 2      Q. (By Mr. Roberts) As -- while you were CEO of       2            MR. GODFREY: Same objection.
 3   BP, as between BP, on the one hand, and its contractors 3             MR. GODWIN: Object to form.
 4   that were involved in drilling of wells, in the other    4       A. The industry norm would be, in most
 5   hand, was there a normal allocation of environmental     5    circumstance, that the Operator would take that risk.
 6   risks in the contracts that BP entered into?             6       Q. (By Mr. Roberts) Okay.
 7             MR. GODFREY: Object as to form.                7       A. But circumstances, of course, differ in time
 8      A. Would you just repeat your question again?         8    and place.
 9      Q. (By Mr. Roberts) Sure. You know what               9       Q. Right. But that was the industry standard?
10   environmental risks are?                                10       A. M-h'm, yeah.
11      A. Yeah. Yes.                                        11       Q. Has been that way for years, hasn't it?
12      Q. All right. And you know that in your              12       A. Yeah, it is.
13   contracts with subcontractors, there is an allocation
14   of who's responsible for those risks?
15      A. M-h'm.
16      Q. You're familiar with the term of indem --
17   you're familiar with the term "indemnity"?
18      A. Yes.
19      Q. All right. While you were CEO, what was the
20   policy with respect -- at BP -- as to who would assume
21   environmental risk for blowout pollution, for
22   instance -- BP or its subcontractors?
23             MR. GODFREY: Objection as to form.
24      A. I think the -- it de -- it de -- in the
25   contracts, of course, it's -- I -- I -- I -- I don't
                                                                                   28 (Pages 556 to 559)
                         PURSUANT TO CONFIDENTIALITY ORDER
     Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 47 of 52

                                                564                                                       566
                                                       1   what -- what --
                                                       2     A. It's -- it's the Code by which we expect
                                                       3   everyone in BP to conduct business. It sets out the
                                                       4   norms and standards of performance and behavior --
                                                       5     Q. So you would --
                                                       6     A. -- in business.
                                                       7     Q. I'm sorry, did I --
                                                       8     A. Yes.
                                                       9     Q. -- interrupt you?
1                                                     10     A. No, no. Go. I finished.
                                                      11     Q. You would expect all representatives of BP to
                                                      12   conduct themselves at the highest level of
                                                      13   professionalism consistent with this Code of Conduct?
                                                      14     A. I would.
                                                      15     Q. You would, for instance, expect all levels of
                                                      16   BP representatives to honor contractual commitments
                                                      17   that they make?
                                                      18     A. I would.
                                                      19     Q. You would, of course, expect all BP
                                                      20   representatives not to enter into contracts that they
                                                      21   didn't intend to honor?
                                                      22            MR. GODFREY: Objection, form.
                                                      23            MR. WEBB: Objection, form.
                                                      24     A. Indeed.


                                                565                                                       567




1                                                     1




25   Q. What is the BP Code of Conduct in general,
                                                                          30 (Pages 564 to 567)
                     PURSUANT TO CONFIDENTIALITY ORDER
      Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 48 of 52

                                                     568                                                                    570
                                                              1     Q. Vallares?
                                                              2     A. M-h'm.
                                                              3     Q. Sounds like a song, "Vo-la-re." That's not
                                                              4   that same group, though, I guess.
                                                              5         Anyway, what is this company going to do?
                                                              6     A. It's -- it's going to invest in oil and gas
                                                              7   opportunities.
                                                              8     Q. As in drilling?
                                                              9     A. Potentially in drilling, almost -- almost
                                                             10   certainly at some point will be involved in drilling, I
                                                             11   expect.
                                                             12     Q. If -- if the opportunity comes up, any reason
                                                             13   you wouldn't use Transocean to drill one of those
                                                             14   wells?
                                                             15            MR. GODFREY: Objection as to form.
16     Q. Well, you know that this industry, the             16     A. We would look very hard at all the potential
17   industry that you've been a proud member of for over 30 17   contractors and make an appropriate decision.
18   years, is characterized by men of great integrity and
19   honesty?
20            MR. WEBB: Objection, form.
21     A. I agree with that.
22     Q. (By Mr. Roberts) Well --
23     A. I agree with that.
24     Q. Despite your lawyer, I knew you were going to
25   agree with that. And you know that men in this
                                                     569                                                                    571
 1   industry expect others to honor their contractual
 2   commitments?
 3      A. That's correct.
 4             MR. GODFREY: Objection to form.
 5      Q. (By Mr. Roberts) And that's been a cornerstone
 6   of this industry throughout its existence?
 7      A. That's correct.
 8      Q. It's the only way it works, isn't it, sir?
 9             MR. WEBB: Objection, form.
10             MR. GODFREY: Objection, form.              1
11      A. It is.




20     Q. You -- you've got a -- what do you call it, an
21   IPO, investment group going in the energy business
22   that's starting up now?
23     A. That's correct.
24     Q. What's the name of that company?
25     A. It's called Vallares.
                                                                                    31 (Pages 568 to 571)
                         PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 49 of 52




             1

             2                 I.   ANTHONY HAYWAHD,      have read the    foregoing

             J    deposition and hereby affix my oignature that same is

             4    true and correct,        except a      noted on the    at~ached


             5    Amendment Sheet.

             6

             7

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                  TH8 STl\TE OF
         10
                  COUNTY OF
         H

         12                   Be(ol:c me /                                      , on
                  t his day pe 1'50n'-1.11 y   app'eare(rANiiiONy"liA'Y'\~ARD: k'nown   to
         13       me (or provp.d to me         on the oath of
                                                     or. t tlrollg h
         111      to be t   person "'hose Ihlme i13 flubr;crTbed-Lo l
                  (oregoing instrument and executed the same [or the
         15       purposes and consideration thel"ci.rl expr:essod.
                           GIVEN UNDER my hand·and s~!al of ofCice this
         16             day of _ _ .__.._..............____ ~.   2011.

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                                                                 [or
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                                PURSUANT TO CONFIDENTIALITY ORDER
         Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 50 of 52

                                                     1                                                         3
            UNITED STATES DISTRICT COURT                  1   APPEARANCES:(Continued)
                                                          2
            EASTERN DISTRICT OF LOUISIANA                     Mr. Peter C. Neger
                                                          3   BINGHAM McCUTCHEN, LLP
      IN RE: OIL SPILL       ) MDL NO. 2179                   399 Park Avenue
      by the OIL RIG,      )                              4   New York, New York 10022
                                                              Phone: 212-705-7226 Fax: 212-702-3616
      DEEPWATER HORIZON in ) SECTION "J"                  5
      the GULF OF MEXICO, )                               6           APPEARING FOR ANADARKO
      April 20, 2010     ) JUDGE BARBIER                  7   Mr. Paul Thibodeaux
                                                              FRILOT, L.L.C.
                     )                                    8   1100 Poydras Street, Suite 3700
                     ) MAG. JUDGE                             New Orleans, Louisiana 70163
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                                                         10   Ms. Mary Klinefelter
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                                                         21
                                                              Ms. Laci M. Dreher
              Videotaped deposition of CURTIS            22   GODWIN RONQUILLO
      JACKSON, taken at Hilton Hotel, 333 St.                 1201 Elm Street, Suite 1700
      Charles Avenue, 5th Floor, New Orleans,            23   Dallas, Texas 75270-2041
      Louisiana, 70130, on the 21st of July, 2011.            Phone: 214-939-4468 Fax: 214-527-3146
                                                         24
                                                                     APPEARING FOR HALLIBURTON
                                                         25

                                                     2                                                         4
 1          APPEARANCES                                   1   APPEARANCES: (Continued)
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21
                                                                     APPEARING FOR DRIL-QUIP
22          APPEARING FOR THE UNITED
            STATES
                                                         22
23                                                       23
24                                                       24
25                                                       25

                                                                                                 1 (Pages 1 to 4)
                                    PURSUANT TO CONFIDENTIALITY ORDER
    Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 51 of 52

                                    173                                                    175




                                           5          Q. In your time as HSSE manager,
                                           6      has anyone ever suggested to you that
                                           7      Transocean had a philosophy of indifference
                                           8      or callous disregard for the environment?
                                           9          A. No. Not that I recall, no.
1                                         10          Q. No one's ever suggested to you
                                          11      that Transocean had a philosophy of
                                          12      indifference or callous disregard for the
                                          13      safety of individuals, right?
                                          14          A. No.
                                          15          Q. And if you ever did learn of
                                          16      something like that, as HSSE manager, it
                                          17      would have been your duty to do something
                                          18      about that, correct?
                                          19          A. It would have been my duty at
                                          20      least to -- to make sure that my -- my
                                          21      manager was informed of that.
                                          22          Q. And you never took any actions
                                          23      like that, correct?
                                          24          A. No, I did not.

                                    174                                                    176
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1                                         1




                                                               44 (Pages 173 to 176)
                PURSUANT TO CONFIDENTIALITY ORDER
Case 2:10-md-02179-CJB-DPC Document 4457-22 Filed 11/01/11 Page 52 of 52




                                                                            247


   1
   2
   3                            SIGNATURE PAGE

              I, CURTIS JACKSON, have read the
   5      foregoing deposition and hereby affix my
          signature that same is true and correct,
   6      except as noted on the correction page.
   7
   8
                                    CURTIS JKcKSON
   9
  10
  11
         THE STATE OF
  12     COUNTY OF
  13
             Before me fAdU:..:'L"'; uj:,~o;c-1 7-.b"tt;.:.. . 1. on this
         day        lly appeared CiL,b,,,h,,,(::<x.'\
         known to me [or proved to me on the oath of
  15                            or through
         ~~-----------------
         -L~~~~~____________ (description of
  16     identity card or other document)] to be the
         person whose name is subscribed to the
  17     foregoing instrument and acknowledged to me
         that he/    executed the same for the
  18     purposes and consideration therein expressed.
             Given under my hand and seal of office
  19      this            day of     ;~'~ 2011.
                                2/~,~~-.
  20
  21

                              NOTp.RY PUBLIC IN AND FOR
  22                          THE STATE OF
  23
                             Expires:
  24
  25



                   PURSUANT TO CONFIDENTIALITY ORDER


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